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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

PATRICIA KENNEDY,

       Plaintiff,

v.

PLACE ST. MICHEL, INC., and
BATTLECREEK PROPERTIES, LLC.,

      Defendants,
____________________________________/

                                          COMPLAINT
                                   (Injunctive Relief Demanded)

        Plaintiff, PATRICIA KENNEDY, Individually, on her behalf and on behalf of all other

 individuals similarly situated, (sometimes referred to as “Plaintiff”), hereby sues the Defendants,

 PLACE ST. MICHEL, INC. & BATTLECREEK PROPERTIES, LLC, (sometimes referred to as

 “Defendants”), for Injunctive Relief, and attorney’s fees, litigation expenses, and costs pursuant

 to the Americans with Disabilities Act, 42 U.S.C.§ 12181 et seq. (“ADA”).

 1.             Plaintiff is a resident of Broward and Pasco Counties, is sui juris, and qualifies as

                an individual with disabilities as defined by the ADA. Plaintiff is unable to engage

                in the major life activity of walking more than a few steps without assistive

                devices. Instead, Plaintiff is bound to ambulate in a wheelchair or with a cane or other

                support and has limited use of her hands. She is unable to tightly grasp, pinch and

                twist of the wrist to operate. When ambulating beyond the comfort of her own

                home, Plaintiff must primarily rely on a wheelchair. Plaintiff requires accessible

                handicap parking spaces located closest to the entrances of a facility. The handicap

                and access aisles must be of sufficient width so that she can embark and

                disembark from a ramp into her vehicle. Routes connecting the handicap spaces

                and all features, goods and services of a facility must be level, properly sloped,
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             sufficiently wide and without cracks, holes or other hazards that can pose a danger

             of tipping, catching wheels or falling. These areas must be free of obstructions or

             unsecured carpeting that make passage either more difficult or impossible.

             Amenities must be sufficiently lowered so that Plaintiff can reach them. She has

             difficulty operating door knobs, sink faucets, or other operating mechanisms that

             tight grasping, twisting of the wrist or pinching. She is hesitant to use sinks that have

             unwrapped pipes, as such pose a danger of scraping or burning her legs. Sinks must

             be at the proper height so that she can put her legs underneath to wash her hands.

             She requires grab bars both behind and beside a commode so that she can safely

             transfer and she has difficulty reaching the flush control if it is on the wrong side.

             She has difficulty getting through doorways if they lack the proper clearance.

 2.          Over the years, the Plaintiff has frequently travelled throughout South Florida ,

             including Miami-Dade County. She intends to continue those travels with the same

             frequency in the future. Plaintiff is an advocate of the rights of similarly situated

             disabled persons and is a “tester” for the purpose of asserting her civil rights and

             monitoring, ensuring, and determining whether places of public accommodation

             and their websites are in compliance with the ADA.

 3.          According to the county property records, Defendants own a place of public

             accommodation as defined by the ADA and the regulations implementing the ADA,

             28 CFR 36.201(a) and 36.104. The place of public accommodation that the

             Defendants own is a place of lodging known as Hotel St. Michel, and is located

             at 162 Alcazar Ave., Coral Gables, in the County of Miami-Dade, Florida

             (hereinafter "Property").

 4.          Venue is properly located in the Southern District because venue lies in the judicial

             district wh ere th e caus e of action accrued. In addi ti on, the Defendants’
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             property is located in and i t does business within this judicial district.

 5.          Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given

             original jurisdiction over actions which arise from the Defendant’s violations of Title

             III of the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28

             U.S.C. § 2201 and § 2202.


 6.          As the owner of the subject place of lodging, Defendants are required to comply

             with the ADA. As such, Defendants are required to ensure that its place of lodging

             is in compliance with the standards applicable to places of public accommodation,

             as set forth in the regulations promulgated by the Department Of Justice. Said

             regulations are set forth in the Code Of Federal Regulations, the Americans With

             Disabilities Act Architectural Guidelines ("ADAAGs"), and the 2010 ADA

             Standards, incorporated by reference into the ADA. These regulations impose

             requirements pertaining to places of public accommodation, including places of

             lodging, to ensure that they are accessible to disabled individuals.

 7.          More specifically, 28 C.F.R. Section 36.302(e)(1) imposes the following

             requirement:

             Reservations made by places of lodging. A public accommodation that owns,
             leases (or leases to), or operates a place of lodging shall, with respect to
             reservations made by any means, including by telephone, in-person, or through
             a third party -
                     (i) Modify its policies, practices, or procedures to ensure that individuals
                     with disabilities can make reservations for accessible guest rooms during
                     the same hours and in the same manner as individuals who do not need
                     accessible rooms;
                     (ii) Identify and describe accessible features in the hotels and guest
                     rooms offered through its reservations service in enough detail to
                     reasonably permit individuals with disabilities to assess independently
                     whether a given hotel or guest room meets his or her accessibility needs;
                     (iii) Ensure that accessible guest rooms are held for use by individuals
                     with disabilities until all other guest rooms of that type have been rented
                     and the accessible room requested is the only remaining room of that type;
                     (iv) Reserve, upon request, accessible guest rooms or specific types of
                     guest rooms and ensure that the guest rooms requested are blocked and
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                    removed from all reservations systems; and
                    (v) Guarantee that the specific accessible guest room reserved through
                    its reservations service is held for the reserving customer, regardless of
                    whether a specific room is held in response to reservations made by
                    others.

 8.          These regulations became effective March 15, 2012.

 9.          Defendants, either itself or by and through a third party, implemented, operates,

             controls and or maintains a website for the Property which contains an online

             reservations system. The website is located at:

             https://hotelstmichel.com/index.html and

             https://gc.synxis.com/rez.aspx?Hotel=43205&Chain=1584. This term also

             includes all websites owned and operated by Defendants or by third parties to

             book or reserve guest accommodations at the hotel:

             https://www.booking.com/hotel/us/st-michel.html,

             https://www.hotels.com/ho111980/hotel-st-michel-coral-gables-united-states-of-

             america/, https://www.expedia.com/Miami-Hotels-Hotel-St-

             Michel.h13055.Hotel-Information, and https://www.orbitz.com/Miami-Hotels-

             Hotel-St-Michel.h13055.Hotel-Information. The purpose of these websites is so

             that members of the public may reserve guest accommodations and review

             information pertaining to the goods, services, features, facilities, benefits,

             advantages, and accommodations of the Property. As such, these websites are

             subject to the requirements of 28 C.F.R. Section 36.302(e).

 10.         Prior to the commencement of this lawsuit, specifically on August 14, August 22,

             August 23, August 24, August 25, August 27, August 28, August 31, and

             September 11, 2019, Plaintiff visited the websites for the purpose of reviewing

             and assessing the accessible features at the Property and ascertain whether they

             meet the requirements of 28 C.F.R. Section 36.302(e) and her accessibility needs.
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             However, Plaintiff was unable to do so because Defendants failed to comply with

             the requirements set forth in 28 C.F.R. Section 36.302(e). As a result, Plaintiff

             was deprived the same goods, services, features, facilities, benefits, advantages,

             and accommodations of the Property available to the general public. More

             specifically:

 11.         The hotel’s own websites located at: https://hotelstmichel.com/index.html and

             https://gc.synxis.com/rez.aspx?Hotel=43205&Chain=1584. Had no reference to

             any accessible rooms. Nor was there an option to book an accessible room. No

             information was given as to whether or where it offers compliant/accessible roll-

             in showers, tubs, built in seating, commodes, grab bars, sinks, wrapped pipes,

             sink and door hardware, properly located amenities, sufficient maneuvering

             spaces, compliant doors, furniture, controls and operating mechanisms. The

             websites do not contain any information as to whether all goods, facilities and

             services at the property are connected by a compliant accessible route, nor does

             the website contain any information as to the accessibility of routes connecting all

             the features of the hotel, the transaction counter, parking, and common area

             restrooms. The websites do not give any information as to whether accessible

             rooms are on the ground floor or if an elevator is provided within an accessible

             route. The hotel’s own websites and third party booking sites indicate that the

             hotel claims to have an on-site coffee shop, a bar, a restaurant, free self-parking,

             fax machine, a business center, meeting/banquet facilities, and that there is no

             information as to whether any or all of these hotel features are accessible.

 12.         With respect to the third party booking site located at:

             https://www.booking.com/hotel/us/st-michel.html: had no option to book an

             accessible room. Hotel amenities, room types and amenities are all listed in detail.
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 13.         The third party booking site located at https://www.hotels.com/ho111980/hotel-

             st-michel-coral-gables-united-states-of-america/: had no option to book an

             accessible room. Hotel amenities, room types and amenities are all listed in detail.

             No information was given about accessibility in the hotel.

 14.         The third party booking site located at https://www.expedia.com/Miami-Hotels-

             Hotel-St-Michel.h13055.Hotel-Information: had no option to book an accessible

             room. Hotel amenities, room types and amenities are all listed in detail. No

             information was given about accessibility in the hotel.

 15.         The third party booking site located at https://www.orbitz.com/Miami-Hotels-

             Hotel-St-Michel.h13055.Hotel-Information: had no option to book an accessible

             room. Hotel amenities, room types and amenities are all listed in detail. No

             information was given about accessibility in the hotel.

 16.         In the near future, Plaintiff intends to revisit Defendants’ website and/or online

             reservations system and the third party booking sites the Defendant utilizes in

             order to test them for compliance with 28 C.F.R. Section 36.302(e) and/or to

             utilize the websites to reserve a guest room and otherwise avail herself of the

             goods, services, features, facilities, benefits, advantages, and accommodations of

             the Property.

 17.         Plaintiff is continuously aware that the subject websites remain non-compliant

             and that it would be a futile gesture to revisit the website as long as those

             violations exist unless she is willing to suffer additional discrimination.

 18.         The violations present at Defendants’ website and third party booking sites

             infringe Plaintiff's right to travel free of discrimination and deprive her of the

             information required to make meaningful choices for travel. Plaintiff has suffered,

             and continues to suffer, frustration and humiliation as the result of the
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             discriminatory conditions present at Defendants’ website and third party booking

             sites. By continuing to operate a website and utilize third party booking sites with

             discriminatory conditions, Defendants contribute to Plaintiff's sense of isolation

             and segregation and deprives Plaintiff the full and equal enjoyment of the goods,

             services, facilities, privileges and/or accommodations available to the general

             public. By encountering the discriminatory conditions at Defendants’ website, and

             third party booking sites and knowing that it would be a futile gesture to return to

             the websites unless she is willing to endure additional discrimination, Plaintiff is

             deprived of the same advantages, privileges, goods, services and benefits readily

             available to the general public. By maintaining a website with violations, and

             utilizing third party booking sites with violations, Defendants deprive Plaintiff the

             equality of opportunity offered to the general public.

 19.         Plaintiff has suffered and will continue to suffer direct and indirect injury as a

             result of the Defendants’ discrimination until the Defendants are compelled to

             modify its website and its postings on third party booking sites to comply with the

             requirements of the ADA and to continually monitor and ensure that the subject

             websites remains in compliance.

 20.         Plaintiff has a realistic, credible, existing and continuing threat of discrimination

             from the Defendants’ non-compliance with the ADA with respect to the websites.

             Plaintiff has reasonable grounds to believe that she will continue to be subjected

             to discrimination in violation of the ADA by the Defendants.

 21.         The Defendants have discriminated against the Plaintiff by denying her access to,

             and full and equal enjoyment of, the goods, services, facilities, privileges,

             advantages and/or accommodations of the subject websites.

 22.         The Plaintiff and all others similarly situated will continue to suffer such
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             discrimination, injury and damage without the immediate relief provided by the

             ADA as requested herein.

 23.         Defendants have discriminated against the Plaintiff by denying her access to full

             and equal enjoyment of the goods, services, facilities, privileges, advantages

             and/or accommodations of its place of public accommodation or commercial

             facility in violation of 42 U.S.C. § 12181 et seq. and 28 CFR 36.302(e).

             Furthermore, the Defendants continue to discriminate against the Plaintiff, and all

             those similarly situated by failing to make reasonable modifications in policies,

             practices or procedures, when such modifications are necessary to afford all

             offered goods, services, facilities, privileges, advantages or accommodations to

             individuals with disabilities; and by failing to take such efforts that may be

             necessary to ensure that no individual with a disability is excluded, denied

             services, segregated or otherwise treated differently than other individuals

             because of the absence of auxiliary aids and services.

 24.         Plaintiff is without adequate remedy at law and is suffering irreparable harm.

             Plaintiff has retained the undersigned counsel and is entitled to recover attorney’s

             fees, costs and litigation expenses from the Defendants pursuant to 42 U.S.C. §

             12205 and 28 CFR 36.505.

 25.         Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

             Plaintiff Injunctive Relief, including an order to require the Defendants to alter

             the subject websites to make them readily accessible and useable to the Plaintiff

             and all other persons with disabilities as defined by the ADA and 28 C.F.R.

             Section 36.302(e); or by closing the website and prohibiting the Defendants from

             using third party booking sites until such time as the Defendants cure their

             violations of the ADA.
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 WHEREFORE, Plaintiff respectfully requests:

       a.     The Court issue a Declaratory Judgment that determines that the Defendants at the

              commencement of the subject lawsuit is in violation of Title III of the Americans

              with Disabilities Act, 42 U.S.C. § 12181 et seq. and 28 C.F.R. Section 36.302(e).

       b.     Injunctive relief against the Defendants including an order to revise the websites

              to comply with 28 C.F.R. Section 36.302(e) and to implement a policy to monitor

              and maintain the websites to ensure that it remains in compliance with said

              requirement.

       c.     An award of attorney’s fees, costs and litigation expenses pursuant to 42 U.S.C.

              § 12205.

       d.     Such other relief as the Court deems just and proper, and/or is allowable under

              Title III of the Americans with Disabilities Act.


              Respectfully Submitted,


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